 4:17-bk-16183 Doc#: 36 Filed: 12/19/17 Entered: 12/19/17 13:23:13 Page 1 of 2



Gregory W. Mitchell
THE MITCHELL LAW FIRM, L.P.
12720 Hillcrest Road
Suite 625
Dallas, Texas 75230
(972)463-8417 – Office
(972)432-7540 – Facsimile
greg@mitchellps.com - Email
State Bar No. 00791285
Jamie N. Kirk
jkirk@mitchellps.com – Email
State Bar No. 24076485
PROPOSED ATTORNEYS FOR DEBTOR




                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF ARKANSAS

IN RE:                                                §
                                                      §
JERRY P. WHITLEY                                      §       CASE NO. 17-16183
                                                      §
        Debtor.                                       §              Chapter 11


               WITHDRAWAL OF APPLICATION TO EMPLOY COUNSEL


TO THE HONORABLE U.S. BANKRUPTCY COURT JUDGE:

        Jerry Whitley (“Debtor”) hereby withdraws Debtor’s Application to Employ Counsel –

filed as Docket #15 in Case No. 17-33628 (as assigned by the Bankruptcy Court for the Northern

District of Texas prior to transfer to this Court).


DATED this 15th day of December, 2017.


                                                Respectfully submitted,


                                                THE MITCHELL LAW FIRM, L.P.

                                                /s/ Gregory W. Mitchell
                                                Gregory W. Mitchell
                                                12720 Hillcrest Road, Suite 625
                                                Dallas, Texas 75230
                                                (972)463-8417 – Office
                                                (972)432-7540 – Facsimile


WITHDRAWAL OF DOCUMENTS – PAGE 1
 4:17-bk-16183 Doc#: 36 Filed: 12/19/17 Entered: 12/19/17 13:23:13 Page 2 of 2



                                            State Bar ID: 00791285
                                            E-mail: greg@mitchellps.com

                                            PROPOSED ATTORNEYS FOR DEBTOR



                                   CERTIFICATE OF SERVICE

       I hereby certify that on December 15, 2017, a true and correct copy of the foregoing was
served via U.S. Mail and/or ECF to the parties in interest receiving notice via the Court’s ECF
system.

                                            THE MITCHELL LAW FIRM, L.P.


                                            /s/ Gregory W. Mitchell
                                            Gregory W. Mitchell
                                            Proposed Attorneys for Debtor




WITHDRAWAL OF DOCUMENTS – PAGE 2
